     Case 8-19-72292-reg        Doc 189     Filed 07/08/21        Entered 07/08/21 11:38:24



                                       Arena District | 250 West Street | Suite 700 | Columbus, OH 43215-7509
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                                                                             WRITER’S DIRECT NUMBER: 614-462-1070
July 7, 2021                                                                              DIRECT FAX: 614-232-6923
                                                                              EMAIL: John.Cannizzaro@icemiller.com



VIA US MAIL AND EMAIL <hkantrow@thekantrowlawgroup.com>

Hailey L. Kantrow, Esq.
The Kantrow Law Group, PLLC
6901 Jericho Turnpike, Suite 230
Syosset, New York 11791


       RE:     Petland Discounts, Inc. - 19-72292 - Order on Lease Rejection Stipulation

Dear Ms. Kantrow,

We represent the claimant (“Claimant”) listed on Proof of Claim 93-4 (the “Proof of Claim”)
filed July 31, 2019, in In re Petland Discounts, Inc., case no. 19-72292 (the “Debtor”). I am
writing in response to your request for a letter that you may use to reconcile the claims register
with the bankruptcy court’s Order Approving Lease Rejection Agreement entered June 25, 2020
[Doc. No. 167] (the “Order”).

Of its total asserted claim of $131,159.35, Claimant holds an allowed administrative claim
of $20,000 pursuant to the Order and therefore asserts a general unsecured claim of
$111,159.35 against the Debtor’s bankruptcy estate. Details concerning the amounts that
comprise the claim are as set forth in the Proof of Claim.

This letter is meant only to supplement the Proof of Claim, which Proof of Claim and all
attachments thereto and provisions thereof are incorporated by reference herein in their entirety,
except for the clarifications noted above. Pursuant to the parties’ stipulation attached to the
Order and incorporated therein, Claimant reserves all of its rights, claims, and remedies under
law or otherwise with respect to any general unsecured claim it has or may have, and nothing
contained there shall constitute a waiver of any of Claimant’s rights, claims, or remedies against
any person or entity that is not the Debtor or the Debtor’s estate.

       Please do not hesitate to reach out if you have any questions.


                                             Thank you,

                                             ICE MILLER LLP



                                             John Cannizzaro
